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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


REJON TAYLOR, et al.,

                           Plaintiffs,

                    v.
                                                    Case No.
DONALD J. TRUMP, et al., in their official
capacities,

                           Defendants.


       [PROPOSED] ORDER GRANTING TEMPORARY RESTRAINING ORDER

       UPON CONSIDERATION OF Plaintiffs’ motion for a temporary restraining order and

the accompanying memorandum, it is hereby ORDERED that the motion is GRANTED.

       IT IS FURTHER ORDERED that Defendants, including their officers, agents, servants,

employees, and attorneys, are ENJOINED from implementing the Redesignation Directive in

whole or in part.

       IT IS FURTHER ORDERED that Defendants, including their officers, agents, servants,

employees, and attorneys, are ENJOINED from transferring Plaintiffs to ADX.

       IT IS FURTHER ORDERED that if any Plaintiff has been assigned and/or transferred to

ADX by the time of this Order, Defendants shall rescind said transfer and/or assignment and

return the affected Plaintiff to the facility where he or she was previously assigned, or to a United

States Penitentiary, Federal Correctional Institution, or Federal Medical Center, consistent with

the procedures and standards applied by the BOP before the issuance of the Redesignation

Directive.

       IT IS SO ORDERED.
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Dated:
Dated:
         Washington,
         Washington, DC
                     DC                           U.S.
                                                  U.S. District
                                                       District Judge




                                         2
